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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


Jennifer Fox,

                        Plaintiff,                    civil Action No.:     4: Ifcv(eSY- ~L l+
        v.
                                                      COMPLAINT AND DEMAND FOR
ProCollect, Inc.; and DOES 1-10, inclusive,         : JURYTRIAL


                                                                                               ~.
                        Defendants.
                                                    ;r...cose assigned to DistrictJ""b.·
                                                    ~ncl\ to   Mag as tr ate Judge            __         ., .   ·   .


                                           COMPLAINT

        For this Complaint, Plaintiff, Jennifer Fox, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendants' repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the "FDCPA").

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), in that

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                              PARTIES

        4.      Plaintiff, Jennifer Fox ("Plaintiff'), is an adult individual residing in North Little

Rock, Arkansas, and is a "consumer" as the term is defined by 15 U.S.C. § 1692a(3) and A.C.A.

§ 17-24-502(2).

        5.      Defendant ProCollect, Inc. ("ProCollect"), is a Texas business entity with an

address of 12170 North Abrams Road, Suite 100 Dallas, Texas 75243, operating as a collection
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agency, and is a "debt collector" as the term is defined by 15 U.S.C. § 1692a(6). A.C.A. § 17-24-

502(5)(A).

        6.     Does 1-10 (the "Collectors") are individual collectors employed by ProCollect

and whose identities are currently unknown to Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

        7.     ProCollect at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

        8.     A financial obligation (the "Debt") to an original creditor (the "Creditor").

        9.     The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a "debt" under 15 U.S.C. §

l 692a(5) and AC.A. § 17-24-502(4 ).

        I0.    The Debt was purchased, assigned or transferred to ProCollect for collection, or

ProCollect was employed by the Creditor to collect the Debt.

        11.    Defendants attempted to collect the Debt and, as such, engaged in

"communications" as defined in 15 U.S.C. § 1692a(2) and A.C.A. § 17-24-502( I).

    B. ProCollect Engages in Harassment and Abusive Tactics

        12.    Within the last year, ProCollect began calling Plaintiff in an attempt to collect the

Debt from "Dale Gray" (the "Debtor"). Plaintiff does not know the Debtor.

        13.    On or about May 11, 2017, Plaintiff advised ProCollect that it had the incorrect

phone number for the Debtor.

        14.    Nevertheless, ProCollect continued to call Plaintiff in an attempt to collect the

Debt.



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   C. Plaintiff Suffered Actual Damages

        15.    Plaintiff has suffered and continues to suffer actual damages as a result of

Defendants' unlawful conduct.

        16.    As a direct consequence of Defendants' acts, practices and conduct, Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.

                                  COUNT I
        VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT-
                           15 U.S.C. § 1692, et seq.

        17.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       18.     Defendants' conduct violated 15 U.S.C. § 1692d in that Defendants engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with collection of the Debt.

        19.    Defendants' conduct violated 15 U.S.C. § 1692d(5) in that Defend ants caused a

phone to ring repeatedly and engaged Plaintiff in telephone conversations with the intent Lo

annoy and harass Plaintiff.

       20.     Defendants' conduct violated 15 U.S.C. § 1692f in that Defendants used unfair

and unconscionable means to collect the Debt.

       21.     The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the FDCPA.

       22.     Plaintiff is entitled to damages as a result of Defendants' violations.




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                              COUNT II
 VIOLATIONS OF THE ARKANSAS FAIR DEBT COLLECTION PRACTICES ACT-
                       A.C.A. § 17-24-501, et seq.

       23.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       24.     Defendants' conduct violated AC.A.§ 17-24-503(3) in that Defendants contacted

Plaintiff regarding a third party's debt on numerous occasions, without being asked to do so.

       25.     Defendants' conduct violated AC.A. § l 7-24-505(a) in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with the collection of a debt.

       26.     Defendants' conduct violated AC.A.§ 17-24-505(b)(5) in that Defendants caused

a phone to ring repeatedly and engaged Plaintiff in telephone conversations. with the intent to

annoy and harass.

       27.     Defendants' conduct violated AC.A. § l 7-24-507(a) in that Defendants used

unfair and unconscionable means to collect a debt.

       28.     The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the AFDCPA, including every one of the above-cited provisions.

       29.     Plaintiff is entitled to damages as a result of Defendants' violations.

                              COUNT III
    VIOLATIONS OF THE ARKANSAS DECEPRIVE TRADE PRACTICES ACT -
                        A.C.A. § 4-88-101, et seq.

       30.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       31.     Defendants' actions constitute unfair or deceptive trade practices as defined by

A.C.A. § 4-88-101 et seq.




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       32.    As the result of Defendants' violations, Plaintiff is entitled to injunctive relief as

well as actual damages and reasonable attorney's fees and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) and A.C.A. § 17-24-

                      512(a)(l);

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §I 692k(a)(2)(A) and

                      A.C.A. § 17-24-512(a)(2)(A);

                  3. Costs of litigation and reasonable attorney's fees pursuant to 15 U.S.C. §

                      1692k(a)(3) and A.C.A. § 17-24-512(3);

                  4. Actual damages pursuant to A.C.A. 4-88- l l 3(f) against Defendants:

                  5. Costs oflitigation and reasonable attorney's fees pursuant to AC.A. 4-88-

                      l l 3(f);

                  6. Punitive damages; and

                  7. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: September 28, 2017


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